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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

MICHAEL AMOS, et al.                                                                 PLAINTIFFS

VS.                                               CIVIL ACTION NO. 4:20-CV-07-DMB-JMV

TOMMY TAYLOR, et al.                                                               DEFENDANTS


                        DECLARATION OF JEWORSKI MALLETT


       Pursuant to 28 U.S.C. § 1746, I, Jeworski Mallett, declare under penalty of perjury that

the following statements, based on my personal knowledge, are true:

       1.      I am an adult resident citizen of Ridgeland, Mississippi. I am competent to testify

to the matters contained in this Declaration, and I give this Declaration voluntarily.

       2.      I am currently serving as the Acting Deputy Commissioner of Institutions for the

Mississippi Department of Corrections (“MDOC”). I have been employed by MDOC since

September 2001.

       3.      In my position as the Acting Deputy Commissioner of Institutions at MDOC, the

responsibilities of my office include evaluating the effectiveness of security procedures,

protocols, and support services in the correctional system, including at the Mississippi State

Penitentiary at Parchman (“Parchman”).

       4.      As Acting Deputy Commissioner of Institutions, I have personal knowledge

regarding measures undertaken by MDOC at Parchman to prevent the spread of COVID-19, to

lessen the impact of COVID-19 on inmates and MDOC staff, to prepare for inmates or MDOC

staff’s contracting COVID-19, and to respond with appropriate and adequate measures should

MDOC staff or inmates contract COVID-19.


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       5.      I have direct personal knowledge of the present conditions and operations of

Parchman. I have personally observed the present conditions, and I am aware of the efforts

undertaken by the MDOC at Parchman with respect to COVID-19.

       6.      I am aware of the current status of Parchman and other MDOC facilities as it

relates to COVID-19. To my knowledge, there are currently no confirmed cases of COVID-19 at

Parchman. This includes inmates and MDOC staff at Parchman.

       7.      I have reviewed Plaintiffs’ Emergency Motion for Temporary Restraining Order

and Mandatory Preliminary Injunction as to COVID-19 as well as Plaintiffs’ exhibits and

memorandum in support. I have personal knowledge that MDOC and Parchman are already

performing many of the preventative and responsive measures sought by Plaintiffs’ Motion.

       8.      I am personally aware of the following preventative and responsive measures

being taken by MDOC at Parchman with regard to COVID-19:

       •    Internal and External Consultation/Monitoring: I am aware that MDOC officials,
            including myself, have been meeting internally and consulting externally with other
            officials and agencies to ensure appropriate preventative measures are being taken
            with respect to COVID-19. MDOC is consulting with top public health and other
            officials, including the Mississippi Department of Health and the U.S. Department of
            Homeland Security’s Office for State and Local Law Enforcement, regarding
            prevention and treatment of COVID-19. I personally participated in a telephone
            conference organized by the Department of Homeland Security. On the telephone
            conference were officials responsible for overseeing state and federal correctional
            institutions across the nation. Attached to this Declaration as Exhibit 1 is a copy of
            the agenda of that telephone conference. On the conference, I became aware that
            MDOC’s current measures are consistent with those employed by other correctional
            institutions across the nation.

       •    Collaboration between MDOC and Centurion: I am aware that MDOC is working
            closely with Centurion of Mississippi, LLC (“Centurion”), Parchman’s third-party
            healthcare provider, to implement the provisions of Centurion’s Pandemic
            Preparedness and Emergency Response Plan (the “Centurion Plan”), a copy of which
            is attached as Exhibit 2 to this Declaration. The Centurion Plan provides written
            protocols for the diagnosis, treatment, and management of conditions related to
            infectious diseases such as COVID-19. The Centurion Plan includes, but is not
            limited to, protocols for: prevention; surveillance; inmate education; treatment,

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        including medical insolation; follow-up treatment; reporting; monitoring current
        community and national trends; appropriate safeguards for inmates and staff;
        providing personal protective equipment (“PPE”); education and training regarding
        PPE; and post-exposure management. The Centurion Plan sets “preparedness” action
        items based on the severity of the virus outbreak, and MDOC is following those
        action items. MDOC is also implementing Centurion’s “Coronavirus Awareness”
        guide, a copy of which is attached as Exhibit 3 to this Declaration. The Coronavirus
        Awareness guide includes procedures for screening staff and other visitors and
        restrictions on staff from entering the facility with symptoms of the virus or if they
        have traveled to a high-risk area. I am aware MDOC is currently following the
        Centurion Plan and the Coronavirus Awareness guide.

    •   Staff Screening: I am aware that MDOC officers and staff are screened daily upon
        entering Parchman for symptoms and other indicators of exposure to COVID-19.
        Specifically, staff members are screened pursuant to a COVID-19 screening form
        provided by Centurion, a copy of which is attached as Exhibit 4 to this Declaration.
        MDOC staff are routed to an alternative screening area at the visitation center to
        facilitate safe screening. The screening process includes questions about each staff
        member’s symptoms, if any, including headaches, fevers, coughing, shortness of
        breath, and any trouble breathing. MDOC subjects staff members to daily temperature
        screenings before entering Parchman. Further, I am aware that food and other
        supplies are still being delivered to Parchman despite the outbreak of COVID-19. The
        persons delivering these provisions are subjected to screening at Parchman as well.

    •   Inmate Monitoring/Testing: I am aware Parchman is following the Centurion Plan.
        The Centurion Plan provides written protocols for diagnosis, treatment, and
        management of conditions related to infectious diseases such as COVID-19,
        including protocols for prevention, surveillance, and treatment, including medical
        insolation. I am aware that MDOC officers are currently actively monitoring inmates
        for symptoms of COVID-19, such as headaches, fevers, coughing, shortness of
        breath, and trouble breathing. I am aware that MDOC, through Centurion, is prepared
        to provide COVID-19 testing as deemed appropriate by Centurion.

    •   Inmate Quarantine: At this time, I am not aware of any confirmed cases of COVID-
        19 at Parchman. Should MDOC learn that an inmate or staff member has contracted
        COVID-19, MDOC will apply the Centurion Plan as well as its own policies
        developed to combat spread of COVID-19. Under these plans and policies, inmates
        who either test positive for COVID-19 or who have COVID-19 symptoms will be
        quarantined. In the unfortunate event there are insufficient numbers of negative-
        pressure rooms, MDOC will quarantine and isolate inmates from the remainder of the
        general population in alternative cells or housing areas.

    •   Suspension/Restriction of Transfers: I am aware that MDOC has suspended all
        transfers of inmates from county jails to MDOC facilities for the next 30 days.
        MDOC issued a press release on this point, a copy of which is attached as Exhibit 5 to
        this Declaration. MDOC is monitoring conditions and developments and will extend
        the restriction as necessary to protect inmates and staff. MDOC has also substantially

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        restricted all transfers of inmates between MDOC facilities for the next 30 days.
        Transfers between facilities will be limited to those absolutely necessary. For those
        transfers that have been necessary, MDOC has screened inmates for COVID-19
        symptoms upon arrival. Even if transferred inmates do not currently have symptoms,
        MDOC isolates those inmates so as to reduce risk to the general population. MDOC
        is monitoring conditions and developments and will extend the restriction as
        necessary to protect inmates and staff.

    •   Suspension of In-Person Visitation / Increased Sanitation for Essential
        Visitations: MDOC has temporarily suspended visitation at all MDOC facilities in
        order to establish sanitation and prevention protocols to prevent the spread of
        COVID-19. MDOC issued a press release on this point, a copy of which is attached
        as Exhibit 6 to this Declaration. MDOC is currently permitting visitation by attorneys
        who satisfy MDOC screening requirements. MDOC has established protocols
        requiring all visitation areas to be sanitized at the completion of each attorney visit.

    •   Non-Contact Visitation: MDOC has undertaken measures to ameliorate the effects
        of the denial of in-person visitation. For instance, MDOC has implemented a policy
        permitting inmates to make two free phone calls per week. MDOC issued a press
        release to this point, a copy of which is attached as Exhibit 7 to this Declaration.
        According to Interim Commissioner Tommy Taylor, “[t]his is another way to help
        inmates stay connected with their loved ones and to be reassured of their welfare
        during this trying time.” Id.

    •   Common Health Practices: MDOC is recommending and reinforcing common
        health practices and other guidelines provided by the Mississippi Department of
        Health and the Centers for Disease Control, including:
        o Coughing or sneezing into the bend of the arm, not the hand;
        o Frequent hand washing for at least 20 seconds or use of hand sanitizer;
        o Avoiding touching of eyes, nose, or mouth with unwashed hands;
        o Avoiding social contact such as shaking hands, hugging, or sharing personal
          items; and
        o Use of disinfectants to sanitize high-touch surfaces, such as workstation surfaces,
          computer keyboards, countertops, doorknobs, light switches, handrails, control
          panels, buttons, and tabletops.

    •   Education of Staff and Inmates: I am aware that MDOC is educating staff and
        inmates regarding the above-referenced common health practices. MDOC has
        distributed materials outlining the above common health practices to the inmates.
        These materials are posted in all inmate housing units as well as on bulletin boards in
        hallways and other common areas. Further, I am aware that wardens, deputy wardens,
        and other MDOC officers have visited each housing unit to verbally inform inmates
        of the above-referenced common health practices.

    •   Institutional Hygiene: MDOC is ensuring that additional chemicals and other
        cleaners are made available at Parchman for the purpose of providing additional

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            sanitation. MDOC has thoroughly cleaned and sanitized all areas at Parchman and
            will continue to do so to ensure proper sanitation is achieved.

       •    Personal Hygiene: MDOC has installed additional hand-sanitizer stations in staff
            work stations and other staff areas. MDOC has provided extra supplies of liquid and
            solid soap to inmates to ensure that each inmate’s soap supply is sufficient to follow
            the recommended universal common health practices outlined above.

       9.      With regard to the additional measures Plaintiffs request in their Motion that

MDOC is not currently undertaking, I have observed the following from my personal

knowledge:

       •    Immediate Testing: As stated, MDOC officers are affirmatively monitoring the
            inmate population for symptoms of COVID-19. MDOC’s third-party medical
            provider Centurion is responsible for inmate testing for COVID-19. There are
            approximately 2,700 inmates and MDOC staff at Parchman. My understanding from
            Centurion is that testing is to be done per local protocols and availability, and that it is
            currently not feasible or recommended to test individuals unless they have traveled to
            any area with an outbreak of COVID-19 or with sustained (ongoing) transmission;
            have a fever or cough; are short of breath; have been in close contact (less than six
            feet) with someone exhibiting COVID-19 symptoms or a confirmed case of COVID-
            19; or have a temperature of greater than 100.4 F.

       •    Immediate Screening: I am aware that MDOC is currently conducting the screening
            requested by Plaintiffs. These screening procedures are described above.

       •    Current Inmate Quarantine: As discussed above, I am aware MDOC is currently
            operating under the Centurion Plan for quarantine, which provides written protocols
            for diagnosis, treatment, and management of conditions related to infectious diseases
            such as COVID-19, including protocols for, among other things: surveillance,
            treatment, medical insolation, follow-up treatment, safeguards for inmates and staff,
            providing PPE, education and training regarding PPEs, and post-exposure
            management. MDOC, in conjunction with Centurion, have developed appropriate
            protocols for quarantining any inmates that contract the virus, as described above.
            Additionally, all scheduled releases from Parchman will occur as planned, with
            necessary precautions taken.

       •    New Inmate Quarantine: I am aware that MDOC has suspended all transfers of
            inmates from county jails to MDOC facilities for the next 30 days and will extend the
            restriction as necessary to protect inmates and staff. MDOC has also substantially
            restricted all transfers of inmates between MDOC facilities for the next 30 days and
            will extend that restriction as necessary to protect inmates and staff. Transfers
            between MDOC facilities have been limited to those absolutely necessary. In the
            event such a transfer is necessary, MDOC has and will screen arriving inmates for
            COVID-19 symptoms and isolate those inmates even if they do not have symptoms.

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                           U.S. Department of Homeland Security

       Office for State and Local Law Enforcement Novel Coronavirus (COVID-19) Call

WHEN:                     Monday, March 16, 2020
                          11:00 a.m. – 12:00 p.m. Eastern

LOCATION:                 Dial-In: 1-800-699-1085

PURPOSE:                 To provide an update regarding current activities related to Novel
                         Coronavirus (COVID-19). On this short-notice call, we plan to provide
                         an update on the current situation; and discuss your current concerns,
                         priorities, and where you may need additional assistance within the
                         law enforcement jail population community.

AUDIENCE                 Sheriffs with Jail Populations and Jail Administrators

AGENDA:

  I.           Welcome and Introduction
                  i. Brian Dorow, Deputy Assistant Secretary, Office for State and Local Law
                     Enforcement, DHS

 II.            COVID-19 Response for Law Enforcement/Custodial Settings
                  i. Alexander L. Eastman, MD, MPH, FACS, FAEMS, Senior Medical
                     Officer, Office of the Chief Medical Officer, DHS

III.            Available DHS Grant Resources
                  i. Kerry L. Thomas, Director, Preparedness Grants Division, FEMA

IV.             Accessing Protective Equipment (Mask, Gloves, PPE Kits)
                   i. Steven A. Adams, MPH, Director (A), Strategic National Stockpile, Office
                      of the Assistant Secretary for Preparedness and Response, HHS

 V.             Bureau of Prisons, Department of Justice (TBD)

VI.             Q&A

VII.           Closing Remarks




*This is a fluid agenda, as information becomes available there may be adjustments made.
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Centurion Pandemic Preparedness and
Emergency Response Plan

     Purpose

     Centurion will work with the Department of Corrections to provide an infectious
     communicable disease pandemic preparedness and response plan.

     With emerging and reemerging infectious diseases, it is import to be prepared to
     respond to outbreaks, epidemics and pandemic. Pandemics are unpredictable. While
     history offers useful benchmarks, there is no way to know the characteristics of a
     pandemic before it emerges. Nevertheless, we must make assumptions to facilitate
     planning efforts. The event can be caused from different types of infections and can
     spread rapidly as the world has experienced in the past. This policy outlines the steps in
     preparing for a communicable disease or infection pandemic, and an emergency
     response to a pandemic event. This is a model outlining the steps and will be part of the
     overall facility procedure for a pandemic event. The plan incorporates current disaster
     preparedness plans already in place by the facility and agencies, and provides additional
     measures needed for a pandemic response. Centurion will collaborate and cooperate
     with the facility, agency, state, local and federal entities that may include local
     community / sheriff’s offices, Department of Corrections, Department of Health, Office of
     Homeland Security, CDC in providing a response for safe response to staff and
     community members if a pandemic is declared.

     Definitions

     1. Pandemic: A global outbreak. A pandemic occurs when a communicable
        disease emerges for which there is little or no immunity in the human
        population, begins to cause serious illness and then spreads easily from person
        to person
     2. Viral Infections: A disease/condition characterized by fever, headache, myalgia
        (muscle pain), prostration (exhaustion), coryza (symptoms of a head cold), sore
        throat and cough.
     3. Bacterial Infections: A disease/condition characterized by fever, headache, myalgia
        (muscle pain), prostration (exhaustion), coryza (symptoms of a head cold), sore
        throat and cough.
     4. Bioterrorism agent: An intentional release of a virus or bacteria with intent of harm or
        death to unsuspecting persons for purpose of biological attack that can be
        transmitted to multiple persons.
     5. Initial Commander: The Shift Commander will assume this role. This person is
        responsible for the entire facility and the emergency until relieved by Interim
        Commander or Ultimate Commander.
     6. Interim Commander: The Interim Commander is the next person in the chain of
        command set by the facility or Facility / DOC P o l i c y and Procedure. This
        person will assume the Commander's position in the event the Ultimate
        Commander is more than one (1) hour away from the facility.
     7. Isolation: Separation and restriction of movement or activities of persons who
        are too ill but who have a contagious disease, for the purpose of preventing
        transmission to others.
     8. Morbidity: A state of being diseased; or the relative incidence of disease.
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    9. Mortality: The state of being diseased: or the relative incidence of death.
    10. Personal Protective Equipment (PPE): Equipment used by any person to
        prevent the acquisition or transmission of disease between persons. Examples
        of personal protective items include, but are not limited to gloves, masks,
        gowns, and etc.
    11. Quarantine: The separation and restriction of movement or activities of ill
        infected persons who are believed to have been exposed to infection, for the
        purpose of preventing the transmission of disease. Individuals may be
        quarantined at home or in designated facilities, healthcare providers and other
        workers may be subject to quarantine when they are off duty.
    12. Segregation/Social distancing: Housing exposed or infected persons away from
        other population at a distance to decrease or prevent the transmission of
        disease.
    13. Infodemic: The distribution of accurate, inaccurate, and rumored information.
        The purpose for the recognition of this is to provide accurate, timely information
        from reliable sources to make appropriate decisions related to any outbreak
    14. Ultimate Commander: This role will be assumed by the Warden/designee to
        have full authority during an emergency.

    Procedures

    1. The infection prevention and control program, policies and procedures, and clinical
       guidelines provide written protocols give disease/condition specific guidelines of the
       diagnosis, treatment, and management of conditions recognized as prevalent in the
       state or local area.

    2. These include procedures for infection prevention, education, identification,
       surveillance, immunization (as applicable), treatment, follow-up, isolation (as
       indicated), and reporting requirements to applicable local, state, and federal
       agencies. A multidisciplinary team that includes clinical, security, environmental,
       maintenance, and administrative representative meets at least yearly to review and
       discuss communicable diseases and infection control activities.
           a. At minimum disease specific protocols will include:
                   i.  Prevention to include immunizations, when applicable
                  ii.  Surveillance (identification and monitoring)
                 iii.  Offenders education and staffing
                 iv.   Treatment to include medical isolation, when indicated,
                  v.   Follow-up care
                 vi.   Reporting requirements to applicable, local, state, and federal
                       agencies
                vii.   Confidentiality/protected health information
                viii.  Monitoring current community/state/national trends

                ix.    Appropriate safeguards for inmates and all staff
                 x.    Education and training on PPE
                xi.    Maintain par levels of PPE
                xii.   Post-exposure management protocols particularly for HIV and viral
                       hepatitis
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    3. Review of all Emergency plans is an essential element of personnel training and
       retraining programs. All employees are to be familiar with all emergency plans prior
       to their permanent work assignments.

 Preparedness

 1. Cases (large outbreak outside United States
       a. Monitor reliable information on outbreak and transmission
       b. Type of infection/disease
       c. Evaluate outbreak plan, and emergency preparedness and response plan
       d. Specific screening tool available (risk factors & symptoms)

 2. Case diagnosed in United States (not in your state)
       a. Monitor and provide reliable medical information on current situation
       b. Update Clinical guidance as recommended by Department of Health and CDC
       c. Disseminate information to healthcare providers
       d. Evaluate current par levels of PPE
       e. Routine communication with public health

 3. Single Case diagnosed in your state
        a. Evaluate current local situation
        b. Reinforce Infection control measures
        c. Update information for healthcare providers
        d. Focus on disease surveillance
        e. Increase public health communication

 4. Cluster linked to cases in your state
         a. Continue monitor of local situation
         b. Implement screening tool as indicated
         c. Continue public health communication
         d. Update information for healthcare providers

 5. Multiple unlinked cases in your state
         a. Increase surveillance
         b. Implement screening tool
         c. Continue public health communication (emergency operation indicated)
         d. Update information for healthcare providers
         e. Strict infection control prevention
         f. Monitor PPE supplies

 6. Multiple linked cases in your state
         a. Increase surveillance
         b. Implement screening tool
         c. Continue public health communication (emergency operation indicated)
         d. Update information for healthcare providers
         e. Strict infection control prevention
         f. Monitor PPE supplies
         g. Follow quarantine recommendations
         h. Limit access to facility
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    Security

    1. The facility will maintain health and safety standards at the highest level possible
       during a pandemic communicable emergency. Once a pandemic outbreak is
       confirmed, the community immediately surrounding the institution is also affected. As
       a result, available resources and external assistance may become limited. This guide
       should be used in coordination and conjunction with Facility / DOC Policy and
       Procedure.

    Locate and Verify

    1. The County Public Health Office and/or the State Health Department will verify a
       pandemic outbreak within the community or at the facility and notify the
       FHA/designee.
    2. This notification will then be passed to the Regional Office.

    Isolate and Contain

    1. Upon notification, isolation of confirmed cases is required. The Commander will
       initiate the Disease Specific Checklist. The Commander may initiate an emergency
       lockdown in accordance with the Facility / DOC Operational Procedures

    2. On duty staff will be expected to remain on site until relieved. Exceptions will be
       determined by facility authorities on a case by case basis.

    3. Inmates affected with the illness will be quarantined in the infirmary and/or detention
       cells. In the event of a mass epidemic, housing units will be evacuated and utilized
       to quarantine infected inmates based on the number of infected inmates,
       and suspected exposures and the custody levels of all involved inmates.

    4. The Facility Health Administrator (FHA) will coordinate with the Warden/designee to
       ensure that standard PPE is available to all staff regardless of assignment.

    Notifications

    1. The following listing is supplement to the established facility disaster and emergency
       preparedness procedure, and is intended to include ancillary staff that is essential to
       the implementation and success of the pandemic plan.
           a. Warden/Deputy Warden
           b. Facility Duty Officer
           c. Food Service Manager and staff
           d. Facility Health Administrator
           e. Maintenance staff
           f. Facility TSU Team Leaders
           g. Facility Captain
           h. Off duty staff
           i. County Coroner
           j. Local Area Hospitals and EMS providers
           k. Local law enforcement agencies (PD and SO)
           l. Inmate population
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 Command Post

    1. Activation of the facility Critical Incident Command Posts will occur in accordance
       with established procedure. The Commander shall ensure that staff is assigned to all
       essential Posts. Staff assignments will consist of both on duty staff and off duty staff
       called into the institution. In the event of staff shortages, likely resulting from staff
       becoming infected and the inability of off duty staff to return to the institution,
       assistance from other FACILITY / DOC sites may be requested. Essential Posts shall
       include:
           a. Security Posts necessary to maintain order and provide for controlled
               treatment of inmates from housing areas to necessary locations.
           b. Food Service Staffing. Staff shortages or the threat of the spread of disease
               may necessitate feeding inmates in cells or housing units. The Commander
               may initiate an Emergency Food Service Plan at this time. Food service staff
               will provide contingency meal planning and services for effected and non-
               effected areas including meals and services for staff.
           c. Food service will maintain a food and water supply of a minimum of three (3)
               days, on site.
           d. Medical Staffing.
           e. Centurion staff will:
                   i.  Initiate their disease specific protocol and will provide services
                       contained in the contract, including diagnosis and treatment for
                       affected staff and inmates inside the facility.
                  ii.  Contact local area hospitals giving a briefing on the facility
                       communicable diseases status and request that they accept any
                       critically ill inmate patients if deemed necessary.
                 iii.  Shall continue to monitor and treat confirmed or suspected cases. All
                       new cases shall be reported to the Command Post as well as the
                       department of health as required.
           f. Maintenance Staff. Maintenance supervisors will ensure that sanitation is
               maintained and that all contaminated waste is disposed of properly. They will
               also validate operation functions and temperatures of laundry equipment to
               ensure laundry is properly sanitized.
           g. Support staff needed to maintain and update inmate records, to provide
               Chaplain Services, and to complete any other necessary tasks. Any service
               or programs not deemed necessary to the operation of the institution shall be
               suspended during the duration of the pandemic status.

 Deaths

    1. Any deaths will be reported in accordance with facility /FACILITY / DOC Policy and
       Procedure.
    2. Inmate deaths will only be released to the public in accordance with FACILITY / DOC
       Policy and Procedure.
    3. Employee death will only be released to the public in accordance with FACILITY /
       DOC Policy and Procedures.
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 Portable Sanitation

    1. Portable sanitation facilities such as portable toilets may be needed and should be
       considered where plumbing and availability of water may become an issue.

    2. Classification and Housing Assignments: Classification and housing assignments
       may be impacted in the event of a pandemic, and consideration may be given to
       housing various custody levels together should isolation of ill inmates and/or
       quarantine of those not affected be deemed necessary.

    On-Site Bivouac

    3. Should it be necessary for staff to remain on site to ensure shift coverage or to
       control spread of disease, Centurion and the Facility / DOC will utilize a designated
       large area within the complex.

 Facility Medical Response

    1. The FHA shall be responsible for:
          a. Provision of updates on the number of infected individuals and their state;
          b. Any deaths believed to be related to the pandemic;
          c. Any other information requested by the Facility / DOC related to the event
          d. Required reporting to the Department of Health, or other agency, numbers of
             cases either suspected or confirmed.
          e. Necessary staff and resources to provide medical evaluation and treatment of
             routine health issues as well as pandemic related health care in all areas of
             the facility, including those designated as quarantined and non-quarantined.
             Examples of such services include, but are not limited to:
                  i. Sick call
                 ii. Medication management and delivery
                iii. Nursing services
                iv. Health assessments
                 v. Mental health services
                vi. Pharmacy services

    2. The Centurion staff shall be prepared to distribute PPE to all staff and inmates in the
       institution during a pandemic outbreak.

    3. In the event that a pandemic is declared, inmates placed in medical quarantine or
       suspected of being infected shall utilize PPE to prevent spread of the disease.

    4. In addition, all staff working in and around isolation areas, medical clinics and
       conducting inmate patient care without exception shall use PPE in accordance with
       recommendations set forth by the Center for Disease Control (CDC), US Department
       of Health and Human Services (HHS) and the State Department of Health.

 Pharmaceuticals

    1. Vaccines (if available), and/or antiviral/antibacterial drugs will be made available to
       all institutional staff first. Vaccines (If available) and or antiviral drugs will be made
       available to inmates based on availability and in accordance with CDC and HHS
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            recommended priority populations. Although information may change based on the
            particular strain and virulence of the causative pandemic, the following represents
            the current information and priority for inmate populations:
                a. Inmates over 65 with 1 or more high risk condition
                b. Inmates under 65 with 2 or more high risk conditions
                c. Inmates with history of hospitalization for pneumonia, flu, or symptoms of
                    disease
                d. Dormitory contacts of immune-compromised inmates who would not be
                    vaccinated due to likely poor response to vaccine (transplant recipients,
                    AIDS, cancer)
                e. Healthy inmates 65 and older
                f. Inmates under 65 with I high risk condition
                g. Healthy inmates

       2. Centurion will provide the available vaccine for inmates and staff.

In general, Centurion will establish a plan in conjunction with the v Facility / DOC for pandemic
outbreaks and emergencies to include surveillance, quarantine and treatment, and resolution.

1 . Each Centurion site will have specific areas and staff assignments based on facility
    location and any Facility / DOC emergency response plans.

2 . Below are general statements that apply to medical services in general and apply to
    all sites. Centurion disease specific plans will be on file with the Warden at the
    respective facility.

Authority

   The F H A ( F a c i l i t y Health Administrator (FHA) at the facility, at the direction of the
   Warden or their designee will be in charge of initiating and coordinating the medical
   portion of the response. In the absence of the FHA, the senior nurse on duty will be in
   charge of coordinating the medical services.

Implementation of the Procedure

   Notification of pandemic status will be provided by the Facility Health Administrator who
   will have received it from the St at e Department of Health. Centurion staff will be
   notified by the FHA or designee.

Isolate and Contain

   The first priority upon receiving notification of a pandemic will be to isolate anyone who
   has been exposed to the disease and contain the spread of the illness. If deemed
   necessary and appropriate, the medical staff will screen all staff reporting for duty for signs
   and symptoms of the disease. Entry can be denied based on display symptoms until such
   time as the staff member has been cleared by a physician to return to work. Inmate
   housing assignments may be temporarily altered to accommodate situations as they
   arise. This will be done in collaboration with the Warden/designee. Medical staff will work
   with the Facility / DOC to plan methods to clean and disinfect the treatment areas and
   rooms.
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Staffing

   The FHA will develop a staffing plan that takes into consideration staffing where possible
   with separate staff, those areas know to house inmates infected with the virus and those
   not affected to reduce the possible spread of the disease with the Warden should it
   become necessary to isolate and/or quarantine in place.

Resource Storage and Supplies

1. An assessment of necessary resources, including volume, storage requirements,
   availability, and utilization procedures will include the following, and be coordinated with
   Warden/designee:
      a. Medical Supplies:
      b. Disease specific medications (enough to cover all staff and inmates);
      c. PPE (masks, gloves, gowns, goggles, sanitizers, paper products);
      d. Medications and medical supplies (i.e., insulin, cardiac, respiratory, anti-viral
           medications, vaccines (pneumococcal, influenza, and new vaccines developed
           during pandemic), analgesic and antipyretic meds, LV. solutions and LV. supplies,
           blood collections tubes, vacutainers, specimen cups);
      e. Other supplies and equipment necessary to maintain medical operations for a period
           of forty-five (45) days. (Chemical disinfectants, syringes, needles, alcohol wipes);
      f. Disposable equipment (urinals, bedpans, wash basins, emesis basins, disposable
           instruments, biohazard waste bags [large and small).
      g. Paper products (plates, silverware, toilet paper, paper towels, etc.)
      h. Centurion will maintain sufficient PPE supplies to include the Facility / DOC staff;
      i. Soaps, rinse free hand sanitizers, rinse free soaps;
      j. Items will be stored in the facility warehouse and medical unit.

Coordination with Community Resources

   Centurion shall maintain contact with local health authorities and service providers to
   coordinate any assistance should outside services be necessary. This will include off site
   local pharmacies in order to obtain medications should routine delivery methods be
   disrupted (i.e., UPS, FedEx etc.), use of local emergency rooms, off-site private provider
   clinics, and ancillary services such as radiology. All off-site provider agreements will be
   updated to include mention of possible assistance during a pandemic situation. Centurion
   maintain a relationship with local public health nursing offices to further coordination efforts
   in the event of a pandemic outbreak in the community where the facility is located.

Facility/Site Specific Plans

   FHA at each the Facility / DOC will provide the Warden a copy of any site specific alterations
   to this pandemic plan. Adherence to this plan will vary based on type of service provided,
   availability to bivouac medical staff on site, use of water and consumables, and inmate
   population. These addendums will become attachments to this policy and procedure.

Updates and Revisions

   As additional information becomes available through the CDC or other recognized health
   authority, the plans will be updated and/or modified to reflect the most current data and
   processes.
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Education

   Centurion will work with facility staff to prepare and provide appropriate education for both
   staff and inmates on proper identification and control of infectious diseases, to include
   benefits of appropriate vaccines, hand washing techniques, universal precautions, and
   wellness in general.

Reporting and Testing

   Centurion will complete any reports and testing as required by the Department of Health, the
   CDC, HHS, or other health authority, as well as specific forms required by the facility or the
   Facility / DOC (yet to be determined) related to a pandemic.

Mortuary Services

1. Mortuary services in the event of a pandemic resulting in deaths that exceed community
   resources may require the institution to provide a temporary morgue.
2. In the event that outside temperatures are below zero (0), the industry bays will be utilized
   as a temporary morgue.

3. If outside temperatures do not support the use of the delivery corridor, then a maintenance
   bay shall be utilized with air conditioning and ice.

4. In the event that morgue services are needed for an extended period of time and
   appropriate refrigeration is unavailable, the practice of a mass burial will be implemented.
   Equipment will be utilized to dig a deep opening in the ground in the designated facility
   parking lots. The deceased will be tagged and placed in body bags taken to the burial site
   and covered with ice to maintain the integrity of the bodies. This process will operate in
   coordination with Centurion staff. Both medical aspects associated with storing a body, as
   well as the psychological impact on staff and inmates have been considered. The Coroner
   shall be notified immediately once a death occurs. The morgue shall remain in operation
   until attendant legal obligations are satisfied and the bodies may be removed.

Provided at time of Pandemic:
1. Condition Specific Screening Tool
2. Condition Specific Self-Triaging Algorithm
3. Actions Checklist-Yellow/Orange Alert Level
4. Actions Checklist-Red Alert
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Coronavirus Awareness
Medical Precautions
Reminder:
     There is a designated place for updates and announcements on Centurion’s Portal located at
      portal.mhm-services.com. Click on the banner titled “Coronavirus Updates.” This is where our
      employees can access the most recent news, formal announcements and resources pertaining to
      COVID-19.




     Centurion has provided, and will continue to make available, webinars, conference calls and materials
      including links and references. Staff have access to these resources on the Portal.
     A facility specific screening tool has been developed for jail and prison admissions, transfers, and other
      trips in/out of facilities. Please check with your supervisors before implementing this guidance as your
      facility may use other screening tools.
     Do not enter a facility if you:
          o   Are experiencing symptoms (fever, cough, and/or difficulty breathing)
          o   Had recent travel to a high risk area within the past 14 days
          o   Have been advised that you have been exposed to a confirmed case
     Centurion has developed and distributed an outline of a pandemic clinical guideline which can be found
      on the Portal banner link;
     Teleconferencing and telemedicine capacity has been expanded. Whenever possible, if delivery of care
      can be done via telehealth technology for primary care, specialty care, nursing care, and mental health,
      please utilize these resources. Your supervisor will provide guidance as to the availability of these
      alternatives at your specific facility.




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Recommendations:
Below we provide a listing of program-level and site-level recommendations by corporate senior medical
leadership. If necessary, a point person is listed for applicable instructions.
     Identify contacts at your nearest local health department for reporting of suspect cases and request
       testing kits. (Facility infection control nurse; alternate: DON and HSA/FHA)
     Identify areas for single cell isolation for symptomatic patients. (HSA/FHA, DON, site medical director)
     Identify air circulation patterns in dormitories in case they are to be used for quarantine. (HSA, DON,
       site medical director)
     Cancel visitations or limit external vendors and personnel. Instead use videoconferencing and
       telephonic communications.
     Be sure to use appropriate personal protective equipment (N95 mask, eye/face shield, gown, gloves)
       for Movement and Transport Officers. We recommend tracking appropriate levels of PPE, medications,
       equipment, and supplies as there is potential for supply chain disruption. (Program Manager/Vice
       President of Operations or HSA)
     Review inventory of supplies and medications which might be in short supply. (DON or charge nurse)
     Provide a symptom screening for all persons being transferred or released using the Centurion
       screening tools or other screening tools that are consistent with CDC recommendations for all intakes,
       transfers in/out, and returns from outside trips such as court, offsite medical trips, and work details. If
       the screening is positive, there needs to be a determination whether or not it is appropriate to proceed
       with the planned movement.
     Encourage patients who have not taken the influenza vaccination to reconsider.
     If allowed by Clients, Centurion is drafting an informational FAQ sheet to healthcare and correctional
       staff and our patients.
     We recommend mock drills for a possible outbreak scenario that incorporates cooperation between
       custody, health services, and other ancillary staff to become familiar with protocols and have lessons
       learned to improve the response if such an incident does arise.
     We recommend that Centurion regional/site clinical leadership is involved in any task force or
       committee meetings/discussions relating to COVID-19.
     We recommend making available sufficient handwashing with soap access. (HSA)
     We recommend programs create educational videos for any in-facility video programming. Keeping not
       just staff but patients informed is critical to preventing riots and other safety concerns.
     We recommend custody staff have ample hospital-grade disinfectants and routinely clean areas. If
       inmates are to be utilized for cleaning duties, be sure that they have proper training and are handling of
       materials with appropriate safety equipment.
     We recommend that our Clients not to limit soap, tissues, toilet paper, and other hygiene products
       during this time period.
     We encourage our Clients to consider meals/dining be done in the units to limit mass movement and
       gatherings.
     Centurion program leadership should draft and implement a plan for emergency staffing in the event
       that employees are absent either due to infection or self-quarantine. The plan must ensure adequately
       licensed and trained staff perform the essential tasks and services under our contract. Further, the plan
       should address what to do if custody becomes short staffed, such as, by way of example, cell-side
       encounters and alternative medication administration.
     Consider recommending medical release of incarcerated persons who are aged or medically
       compromised and increase monitoring of those at highest risk.



                                                     Page 2
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                                               COVID-19 (coronavirus) Screening
                                                                           English
   Date:                           Time:
   State:                    Facility:
   Symptoms (check all that apply)                                                             Yes   No       Start date
   Fever/chills (if on medications that lower temp, may not have fever)
   Cough
          Describe
   Shortness of breath or trouble breathing
          Describe
   Other:

      Vital Signs
      B/P                         P                    R                     pSO2               Temp*
   * Patients with immune compromised conditions or taking fever reducing medications may not have a fever


   In the past 14 days                                                                         Yes   No          Note
   Have you traveled to or been in any outbreak areas in United States, or
1 traveled internationally*? Many countries have out breaks, and large
   outbreaks in China, Italy, Iran, South Korea.
        If yes: Where                    When


2 Have you or any family or friends with whom you live been in such areas?
        If yes: Where:                    When


3 Have you had close contact with anyone who has tested positive to
   COVID-19 or experiencing fever or cough?
   If yes: When
   If yes to any symptoms and yes to any questions 1, 2, 3: Have patient don surgical/procedural mask, educate patient, and
   consult provider
   Or if a person has a fever(>100.4°), cough, shortness of breath, and lower respiratory infection, with unknown source of
   infection contact practitioner

   Practitioner Notified(date/time)                                       Practitioner Name:
   Department of Health Notified (Name):
   Comments



   Nurse Signature:

           P Patient accepted         Patient Quarantined      P Patient Isolated         Patient Referred to Hospital
           aPatient Tested for COVID-19 Date:                  a
                                                            Results:
         Pt                                                    t
    Patient Name                                                                  DOB                           ID #
         ai                                                    i
         te                                                    e
         in                     *Risk Area=Outbreak areas include United States , major airports, globally.
                                                               n
         et
IPC-042-English
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1/2020 revised 3/17/20
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                                  COVID-19Doc #: 62-1 Filed: 03/19/20
                                            (coronavirus)             20 of 23 PageID #: 1039
                                                              Screening
                                                              Spanish
    Date:                       Time:
    State:                Facility:
    Síntomas (marque todos los que correspondan)                                  Yes       No               Start date
    Fiebre / escalofríos
    Tos
            Describir
    Falta de aliento/ Dificultad para respirar
           Describir
                                        Other:


      Vital Signs
      B/P                   P                    R            pSO2                  Temp*
    * Patients with immune compromised conditions or taking fever reducing medications may not have a fever


    En los últimos 14 días                                                        Yes       No                  Note

    ¿Ha viajado o ha estado en áreas de brotes en los Estados Unidos, o ha
1
    viajado internacionalmente *? Muchos países tienen brotes y grandes brotes
    en China, Italia, Irán, Corea del Sur.



2
    ¿Usted o alguna familia o amigo con quien vive ha estado en esas áreas?




3 ¿Has tenido contacto cercano con alguien que haya dado positivo a
    COVID-19 o que tenga fiebre o tos?
       Si sí, cuándo
    If yes to any symptoms and yes to any questions 1, 2, 3: Have patient don surgical/procedural mask, educate patient, and
    consult provider
    Or if a person has a fever(>100.4°), cough, shortness of breath, and lower respiratory infection, with unknown source of
    infection consult provider


    Provider Notified(date/time)                     Provider Name:
    Department of Health Notified (Name)
    Comments:



    Nurse Signature:

          P Patient accepted            Patient Quarantined         Patient Isolated             Patient Referred to Hospital
          aPatient Tested for COVID-19 Date:               Results:
    Patientt Name                                                                DOB                         ID #
          i
          e                   *Risk Area=Outbreak areas include United States , major airports, globally.
          n
IPC-042-Spanish
          t
1/2020 revised 3/17/20
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FOR IMMEDIATE RELEASE
Date:       March 12, 2020
Contact:    Office of Communications
Phone:      (601) 359-5289, 359-5608, 359-5689
E-mail:     MDOCOfficeofCommunications@mdoc.state.ms.us



   MDOC Suspends Inmate Transfers as Part of
          Response to Coronavirus
JACKSON, MISS. – Effective immediately, the Mississippi Department of
Corrections is suspending the transfers of inmates from all county jails to MDOC
custody until further notice.

The action is in addition to the temporary suspension of visitation at all facilities
with MDOC inmates as the MDOC establishes sanitation and prevention protocols
to prevent the spread of COVID-19.

There will be limited transfer of inmates between MDOC facilities unless
absolutely necessary.

“We are monitoring new developments and plans will be updated accordingly,”
said Deputy Commissioner Jeworski Mallet. “Steps are being taken to protect staff,
inmates, and the public from potential exposure to the coronavirus.”

Additionally, the Corrections Department is reinforcing common health practices
based on preventive measures recommended by the Mississippi Department of
Health in accordance with the Centers for Disease Control and Prevention.

There are currently no confirmed cases of COVID-19 within the MDOC prison
system.
 Case: 4:20-cv-00007-DMB-JMV Doc #: 62-1 Filed: 03/19/20 22 of 23 PageID #: 1041




FOR IMMEDIATE RELEASE
Date:       March 12, 2020
Contact:    Office of Communications
Phone:      (601) 359-5289, 359-5608, 359-5689
E-mail:     MDOCOfficeofCommunications@mdoc.state.ms.us



   MDOC Takes Steps to Protect Staff, Inmates,
     Public against Coronavirus Exposure
JACKSON, MISS. – Effective immediately, visitation at all facilities where
Mississippi Department of Corrections inmates are housed is temporarily suspended
until further notice in order to establish sanitation and prevention protocols to
prevent the spread of COVID-19. This is a precautionary measure to protect staff,
inmates, volunteers, and visitors from potential exposure to the coronavirus.

Attorneys and essential visitors will be allowed, and the area of visits will be
sanitized upon completion of each visit. Additional parameters will be determined
as protocols are established.

“We acknowledge any inconveniences that inmate family members and others may
experience from the temporary suspension of visitation,” said Deputy Commissioner
Jeworski Mallett, who manages state, private, and regional prisons in the state.
“However, these actions are necessary for public safety and protecting our inmates,
their loved ones, and our staff.”

Also, the Corrections Department is reinforcing common health practices based on
preventive measures recommended by the Mississippi Department of Health in
accordance with the Centers for Disease Control and Prevention.

There are currently no confirmed cases of COVID-19 within the MDOC prison
system.
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FOR IMMEDIATE RELEASE
Date:        March 16, 2020
Contact:     Office of Communications
Phone:       (601) 359-5289, 359-5608, 359-5689
E-mail:      MDOCOfficeofCommunications@mdoc.state.ms.us



    Free Inmate Phone Calls Offered by State Phone
                      Provider
JACKSON, MISS. – Starting Tuesday, March 17, incarcerated persons using the
GTL phone service will be able to make two free phone calls of up to five minutes
each per week.

GTL, the state’s phone service provider, is providing the two free calls through April
13. No credit will be given if the free calls are not used.

GTL notified the Mississippi Department of Corrections on Monday that it would
be providing the free calls to help people contact their loved ones during this time as
the company closely monitors the coronavirus situation.

“We appreciate GTL’s contribution to make the two free phone calls available,”
Interim Commissioner Tommy Taylor said. “This is another way to help inmates
stay connected with their loved ones and to be reassured of their welfare during this
trying time.”

Deputy Commissioner Jeworski Mallett said, “It is important to remind individuals
that they are more than inmates. Family ties can help prevent family breakdown and
relieve tension in facilities.”

The free calls are only available for service provided by GTL within the prison
system.

A message will let the called party know that the call is being provided at no charge.
